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            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF COLUMBIA


In re:

INNER CIRCLE 1223, LLC,                   Case No. 19-00404-SMT

           Debtor.                        Chapter 11



            ORDER GRANTING UNITED STATES TRUSTEE’S
                    MOTION TO DISMISS CASE


      Upon consideration of the United States Trustee’s

Motion to Dismiss Chapter 11 Case on Agreed Order, the

parties having by counsel indicated their consent by

their signatures below, it is hereby
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      ORDERED that the motion of the United States

Trustee is granted and this case is DISMISSED.

      It is further ORDERED that the clerk shall mail

copies of this order to the parties listed below and

give notice of this order to all parties listed on the

mailing matrix.



                                           [Signed and Dated Above.]

                              [END OF ORDER]


I ask for this:                          Seen and agreed:

/s/ Joseph A. Guzinski                   /s/ Richard L. Gilman
Joseph A. Guzinski                       Richard L. Gilman
Assistant United States                  Gilman & Edwards, LLC
Trustee                                  8401 Corporate Drive
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Trustee                                      and Debtor in Possession




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Copies to

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Washington, DC 20036        Office of United States
Debtor and Debtor in        Trustee
Possession                  1725 Duke Street, Suite 650
                            Alexandria, VA 22314
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Richard L. Gilman           States Trustee
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    Debtor in Possession




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